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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 ANDERSON ST. JOHN, individually and on behalf
 of all others similarly situated,

                       Plaintiffs,
                                                          Case No. 2:22-cv-01257-GRB-AYS
                -against-
                                                         NOTICE OF MOTION
 ADESA, INC.,

                       Defendant.




        PLEASE TAKE NOTICE that, upon the accompanying Declaration of Eli Z. Freedberg,

 executed on August 3, 2022, Declaration of Natalie Murray, executed on July 30, 2022, and the

 accompanying Memorandum of Law in Support of Defendants’ Motion to Dismiss the Complaint,

 and all other pleadings and filings in this action, Defendant ADESA, Inc. and proposed Defendant

 ADESA New York, LLC, hereby move the Court before the Honorable Gary R. Brown, United

 States District Court Judge, at the United States District Courthouse for the Eastern District of

 New York, located at 100 Federal Plaza, Courtroom 940, at a date and time convenient for the

 Court, for an Order dismissing with prejudice the claims of Plaintiff Anderson St. John for lack of

 subject matter jurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure,

 together with such other relief as the Court deems just, proper and equitable.

 Dated: August 3, 2022
        New York, New York
                                              LITTLER MENDELSON, P.C.

                                              By: /s/ Eli Z. Freedberg_____
                                                 Eli Z. Freedberg
                                                 Miguel A. Lopez
                                                 900 Third Avenue
                                                 New York, NY 10022
                                                 212.583.9600
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                                       Attorneys for Defendant
                                       ADESA, Inc. and proposed Defendant ADESA
                                       New York, LLC




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